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7
                             UNITED STATES DISTRICT COURT
8
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
9
                                   SOUTHERN DIVISION
10
     UNITED STATES OF AMERICA,               No. SA CR 15-077-JLS
11
                Plaintiff,                   PERSONAL MONEY JUDGMENT OF
12                                           FORFEITURE
                     v.
13
     JAMES L. CANEDO,
14
                Defendant.
15

16
          Pursuant to the Stipulation and request of the parties filed in
17
     this matter on February 2, 2018, the Court hereby finds and orders as
18
     follows:
19
          1.    On September 4, 2015, defendant James L. Canedo (“defendant
20
     Canedo”) entered into an agreement to plead guilty to a single-count
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     information that charged him with Conspiracy, in violation of 18
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     U.S.C. § 371.   Defendant Canedo further agreed to forfeit the
23
     proceeds he obtained as a result of the offense to which he entered
24
     the guilty plea.
25
          2.    Defendant Canedo has stipulated to the entry of this
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     Personal Money Judgment of Forfeiture (the “Money Judgment”) in the
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     amount of $633,091.
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     Case 8:15-cr-00077-JLS Document 65 Filed 02/06/18 Page 2 of 2 Page ID #:420



1         3.   The entry of this Money Judgment is specifically authorized

2    by Rule 32.2 of the Federal Rules of Criminal Procedure and is part

3    of the defendant’s sentence.      Rule 32.2(c)(1) provides that “no

4    ancillary proceeding is required to the extent that the forfeiture

5    consists of a money judgment.”

6         4.   Pursuant to the stipulation, defendant Canedo expressly

7    waived the requirements of Federal Rules of Criminal Procedure 32.2.

8    and 43(a) regarding notice of forfeiture in the charging instrument,

9    pronouncement of forfeiture at sentencing, and incorporation of

10   forfeiture in the personal money judgment of forfeiture.           Defendant

11   further agreed to immediate entry of the Judgment, and that the

12   personal money judgment of forfeiture shall become final as to

13   defendant Canedo upon entry.

14        5.   This Money Judgment is part of the sentence imposed on

15   defendant in this case.

16        6.   A money judgment in the amount of $633,091 is HEREBY

17   ENTERED in favor of the United States of America and against

18   defendant James L. Canedo.

19        7.   This Court shall retain jurisdiction for the purpose of

20   enforcing this Money Judgment.

21        IT IS SO ORDERED.

22

23
     February 6, 2018
24   DATE                                   HONORABLE JOSEPHINE L. STATON
                                            UNITED STATES DISTRICT JUDGE
25

26
     Presented by:
27
          /s/
28   SCOTT D. TENLEY
     Assistant United States Attorney
